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Carole’s Lifelong Timeline
If my life had a tagline it would be: What doesn’t kill me makes me stronger.

I’ve skimmed over my 1800 + page journal and these are the turning points. Every time we
make a decision we forever change our trajectory. Half a century of hindsight would indicate
these were those moments.

1961

Born 6/6/1961 at the Lackland Airforce Base. Came home to an orange and white striped cat in
my cradle named Tiger. It was my first time to be in the newspaper as I was the fifth living
generation in our family.

1962

I grew up in 2 families. Both parents were workaholics but poor. I stayed with my maternal
grandmother during the day until I started school. My grandparents were not hugely wealthy,
but my grandmother insisted on appearing that way. She’d grown up picking cotton.

1968

Age 6. First day of school, I was a natural born leader, and during a game of “follow the leader”
accidentally led the entire first grade into a yellow jacket nest. We all went home vomiting and
covered in stings. You would think that would have put an end to any idea of leading others
right there.

1971

Age 10. My grandmother insisted that I needed a purebred poodle, instead of the alley cat
Smokey and her nine kittens who were living in a drawer in the bedroom of our trailer home in
Slack’s Mobile Home Park in WVA. She relented by agreeing to a Siamese cat instead (I don’t
much care for dogs) but she made me take my cat and kittens to the shelter. It was when I
learned, many years later, that shelters euthanize most of the cats who come in, that I vowed to
end the practice of killing healthy cats in shelters. This is still my goal in life, through aggressive
spay and neuter programs, but I thought I could “fix this big cat problem” first. It’s taking longer
than expected.

Injured dogs and cats would always seem to find me and we couldn’t afford a vet, so I did what I
could for them. A neighbor shot and killed my Siamese and his kids told me he’d done it. They




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said he would get drunk and shoot pets for fun. He beat his wife and kids all the time and was
known to be a mean drunk. With blood in my eyes I marched my trembling little self up the
steps to his trailer, banged on the door, and told him I knew what he’d done, and if I ever found
out he’d hit his family or hurt another pet, I’d bring Hell to pay. No more injured animals came to
me there, but we never lived anywhere long.

Three spinsters at church had a cat with kittens and all but one died of distemper. They gave
me the last, tiny little kitten to see if I could save her. She never grew to more than about 4 lbs
but I had her until after my daughter was born in the 80’s. I named her Pearlie Mae (as if that
isn’t about the most redneck name I could think of) We did everything together. Later in life she
would save me from a Doberman that attacked me.

1972

Age 11. First time dealing with a gang of dangerous bullies. My brother, and only sibling, is 6
years younger than me. As a child he was terrified of everyone and bullies prey on kids like
him. I got into a lot of fights beating back kids older than me who would pick on him. I was in
the 5th grade in Charleston, WVA walking w/ my brother, Chuck, to school one day when Eddy
Kraft (who had failed the 6th grade 6 times) and a gang of hoodlums surrounded me. I have a
lot of detail on the fight that ensued, but for brevity’s sake: I beat the snot out of Eddy with a
briefcase and the other boys ran.

Later at Halloween a band of boys surrounded my brother and I and poured gasoline around us
in a ring and set fire to it. I put Chuck up on my shoulders to escape the flames until they died
down enough that we could escape.

1974

Age 13. I’ve moved 14 times in my life so far. My mother was always a secretary. My father
had been in the Air Force in Intelligence for 4 years, then a flight instructor, a private detective
and had a lawn care business. As a private detective he worked all kinds of jobs to get close to
the person he was investigating. I did a lot of surveillance with him after school because we
couldn’t afford child care for me and my 7 year old brother.

My grandparents sold Amway and had a 4 shop storefront on Florida Av. They gave me one of
the shops and I made jewelry to sell and bought and sold glassware after school. I’d been
selling Amway, door to door (that’s where I got the plastic briefcase) since I was old enough to
carry it.

1975

Age 14. I’m back in Florida and we live out in the middle of nowhere. I can walk for 6 hours
straight, and love to do it. I pace when I talk. I used to carry an axe with me because for




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amusement I’d sometimes hitch hike. The kind of people who pick up a 14 year old with an axe
are pretty interesting company. I have some close calls, but nothing I couldn’t talk my way out
of. More details are available, but probably not important to the overall story.

A girl from church, Cindy Clark, was having trouble w/ her mom and came to stay w/ me. She
was into drugs and I had no idea. I never did get involved in drugs. There were three men who
worked at the horse track named Steve and Jim? Crabtree and George Minogue. We had
walked by their house (across the way from mine, just way back off the road) earlier in the day.
That night she suggested we slip out my window and go listen to music with them. She told me
to go ahead of her and she’d be right there. They raped me at knife point, and cut my neck
badly enough I had to wear scarves for a while. A decade later Cindy told me she’d sold my
virginity to them for drugs.

I went from 135 lbs to 156 lbs and have had trouble with my weight all my life. At some level, I
suspect that I do it to keep men at bay. I was in my fifties before I told my mom what had
happened that night. I never told my dad for fear he’d spend the rest of his life trying to hunt
them down and kill them. In my family it was believed that if a girl was raped, she must have
had it coming. I felt so ashamed I couldn’t tell family members. I told Jamie when she was old
enough to know, as a warning that men can be animals and you always have to look tougher
than you are to survive. I taught her to take the aggressive position if she felt threatened,
because bullies are looking for someone easy and you have to let them know, right from the
start that you’re going to fight. Jamie is tough as nails.

1976

I was voted the Most Ideal Classmate and won awards for art and music and was voted the
Good Citizen Award which is pretty funny since I spent a lot of time in the Principal’s office (my
scary aunt Mary Smith) explaining why I was leading an uprising in the school halls against
some of their more treasured traditions. I led a strike so that girls could wear pants. We
couldn’t wear jeans, but we won the right to wear pants after plastering the halls with posters
about how it was indecent for us to have to play sports in dresses.

I bought a pair of green plaid slacks and wore them every day. I kept those ugly pants for most
of my adult life before deciding that I didn’t have to be reminded of that small win any more.
This year was my first recorded attempt at a diary.

1977

Age 16. Graduated 10th grade at Leto H.S. and my family moved from FL back to WV. A boy
I’d dated at the skating rink from FL went AWOL from the Army and dropped by my house. My
parents were broke and I’d been trying to get them to let me take a job to help out. My mother
and I had our first harsh words EVER that morning and she said, “When I get home, I don’t want
to see your face!” I thought she meant EVER, so when Jim Jones called and asked to come by,




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I left home with him and two paper bags of clothes. I never went back. I did get my GED
though.

Jim was a drug addict and I was working three jobs to keep us fed and a roof (OK a garage
roof) over our heads. Until then we lived on the streets. I would sleep under cars so that people
wouldn’t know I was there. He would beat me so severely that I’d miss days of work because
you can’t serve food with bloody lips and swollen eyes. I tried to commit suicide by jumping off
the Kanawah bridge, but the fall didn’t kill me. A drunk jumped in to save me and I ended up
hauling him up out of the river.

Most of my jobs were serving alcohol even though I was under age. At the end of the night we’d
all drink a “suicide” which was from pouring all of the left over drinks into a pitcher and polishing
it off after work. I was a chain smoker by then and an alcoholic. I couldn’t get out of bed without
guzzling whiskey or rum straight from a bedside bottle. I was a high performing drunk.

I managed to land a job working as the secretary to the secretary for Gov. Rockerfeller at the
age of 16 and made the news again as I was the youngest state employee. My father had been
a pilot for the previous governor, but had lost his job when Gov. Rockerfeller sold all the state
planes and bought helicopters that none of his pilots could fly.

5/25/77 details the events leading up to it and after, but the short story is: I was in a wreck that
sent me through the windshield that broke my neck in two places. I was paralized and told by
medical doctors that I’d never walk again, but a chiropractor got me back on my feet after
several months.

1978

Age 17. I hated the snow and didn’t think I could take any more of Jim’s beatings, so I packed
us up and moved to FL where I dumped him off at his mother’s house in east Tampa and went
into hiding at my grandparent’s home. He found me there, and tried to kill me, so I moved into a
Datsun Pick Up truck, with my cat Pearlie Mae. I’d had her since I was 8 years old.

During the day I asked my boss, Mike Murdock, who ran the automotive department at Zayre’s
to let her stay in his apartment. I’d pick Pearlie Mae up each day after work and we’d sleep
overnight in my truck. I’d bathe at gas station restroom sinks because I didn’t want to be subject
to another man.

1979

Age 17-18. In time I married Mike. He was 11 years my senior; divorced w/ 2 kids. I was 17.
He would physically abuse me, but was smart enough not to do it in ways that showed to the
public. He’d twist my arms behind my back or hit me in places I wouldn’t be showing anyone.
He wanted babies, even though he had two kids by a former wife. I never wanted children and




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certainly not with him. I was on the pill, but when I ran out I had no money to replace them and
Mike raped me during that time. I fought as hard as I could, and tried to lose the baby, by
working myself and starving myself half to death. I got sober and have stayed that way.

1980

Age 19. Jamie Veronica Murdock was born. I had no idea how to be a mom and had almost
never even played with dolls. I wore her in a papoose back carrier while I worked selling
furniture on street corners and flea markets. I was a horrible mother and often say “Jamie was
raised by bobcats.” She’s been my right hand since she was 12 and given the amount of work
and stress involved with that, it hasn’t been fair to her. She’s an amazing person, but so private
that few people know just how amazing she is. When Jamie was born she became the fifth
living generation, just like I had in 1961.

1981

Age 19. After a fight with Mike that led me to throw a potato at him (I had never retaliated
before) I had run out of the house fearing for my life. I was being stalked by a man, so I sat with
a couple of old men selling melons, until he quit circling. I continued walking and another man
began circling me. This one was Don Lewis, who I married in 1991.

1986

Age 25. I filed for divorce of Mike Murdock. It took a couple of years, but during that time he
knocked my mother down, from behind, in a parking lot, grabbed Jamie and fled. She didn’t see
who had done it, and we didn’t know if Jamie had been abducted by a stranger or her father. It
took months to find them and I was able to steal her back while he’d left her in the custody of
her brother and sister who were a few years older than her.

1987

Age 26. Because I had an affair w/ Don Lewis (Mike had plenty) the judge gave custody to Mike
and ordered me to pay child support. It didn’t help that I had shown up late to the custody
hearing because I’d rescued a dog, who had been hit by a car and was stranded in the middle
of the highway during rush hour traffic. I had to wait until a friend came to get the dog, but I
didn’t have time to change out of the bloody clothes, so I showed up that way for the hearing.

I’d been working w/ Don since 1981 finding real estate deals, negotiating them and buying them,
but everything was in Don’s name and he held all the money. My relationship w/ Don was on
and off from 1981-1991 because he kept telling me he was reconciling w/ his wife and I didn’t
believe it was right to stand in the way of that. All these years later, I’ve learned he was not
reconciling w/ Gladys, but rather had other girlfriends.




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I moved in w/ Dr. Roy Persons, a psychologist, and invested $90k for him in real estate. We split
the profits on the real estate deals. He asked me to marry him, but I turned him down. My part
of the profits is what I used to start building my real estate business. I continued to manage his
real estate for him until he was able to wind it down by selling off properties. Other people
heard about the great returns he was getting and asked to do the same deal with me, so I was
investing other people’s money as well as mine.

Racehorses. When Pam Enriquez (One of Don’s girlfriends) was making it unbearable for me to
show my face at the Courthouse for the auctions, I had tried to make a go of it claiming, training
and racing horses. That was certainly not my idea, but rather was to assist Bill Benjamin, who
had nearly lost his legs helping me. My car had stalled in the middle of the night on the 1-4 exit
ramp to Clearwater. He and another man were pushing, as I was steering, when a woman,
asleep at the wheel of her Mercedes, plowed into the back of my 1983 oxblood red Volkswagen
Rabbit, pinning his legs.

I ended up with amnesia from hitting my head on the frame of the windshield, so hard it bent it,
during the impact, so I am not very clear on the time frame. Anne McQueen found me in the
hospital and asked where my baby was. I didn’t know I had a baby. Jamie was 7 and living
with her Dad. I had to relearn everything about my real estate business by reading the files and
talking to investors who said I was managing their money. I made sure everyone was made
whole, but there are still huge gaps in my memory. After paying them back, plus their profits, I
vowed to never use other people’s money again, including bank loans, as it was just too
stressful.

1988

Age 27. Don (age 50) has crashed three planes by now. I never knew it until 2020 but Don had
never been signed off to fly solo during his flight training and never took a written exam. He
wouldn’t have been able to read or pass it. Don was cited by the FAA for doing take offs and
landings at Vandenberg, which was closed for repairs. He told me he lost his license from that
event, but turns out he never had one. He continued to fly for years. The first time Don crased
was during Hurricane Helene on 9/22/1988. He was trying to outrun the storm but was flying so
low he got tangled in power lines. This crash left him in intensive care for weeks. He was never
quite right after that. The second time he crashed out over the gulf, 6 miles out from the Cedar
Key airport. The third time he forgets to put the wheels down and bellies in to Zephyrhills airport.
This airplane had a very loud siren that goes off if you drop below a certain level w/o putting the
wheels down. That’s what makes me think that Don may have been asleep when he crashed
over the gulf. The FAA later reported that he wasn’t out of fuel and there was no problem with
the plane. Don would frequently fall asleep as soon as he had been in the air for a few minutes.
I later learned to fly to protect us both from his recklessness.




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1990

Age 29. Don’s wife Gladys divorced him citing the statutory rape of her neice and his many
affairs. She had met a man at her church she wanted to marry. By this time she was so happy
to be free that she actually asked me to take care of her investments for her (or so Don said) I
did for a while but one of her daughters wanted to be a stock broker and talked her into selling
everything and putting it in stocks. We all know how that turned out during the Dot.com bust.

Since breaking up with Roy, I’d moved from house to house as I bought them, fixed them up
and resold them. Don said he wanted give Gladys a year to see if she was happy before he’d
remarry, but he moved in with me right away. Later I learned he was trying to make a go of it
with Pamela Enriquez. Her mother owned The Hot Sheet which was the weekly report of
foreclosures and tax deed sales we all used. Don was siphoning the profits off our real estate
business and putting properties into Pam’s corporate names to hide it from everyone.



1991

Age 30. Don and I got married after a tax deed sale at the Polk County courthouse. I was
wearing blue jeans and a black tank top. He was wearing his uniform; meaning he always wore,
blue jeans and usually a white tee shirt. We had gotten the application and had planned on
having my only girl friend, Don’s secretary, Anne McQueen do the honors. I don’t know what
made him change his mind, and do it on the spur of the moment that day, but he said it was the
movie Ghost. I quit smoking because Don couldn’t stand it.

1992

11/4/1992 we rescued Windsong the bobcat from a taxidermist at an exotic animal auction
where we were buying llamas to graze some of our large tracts of land. Windsong was the
founder of Wildlife on Easy Street which later became Big Cat Rescue.

Mike called me saying I should pick Jamie up after school. The school had been trying to
investigate him for abusing Jamie, and had just called me about it. Mike would play with my
emotions all the time, telling me to pick her up and then not letting me see her. I asked if he
was doing that and he said, “If you don’t pick her up, no one will.” That was the last time Jamie
and I ever saw Mike. He tried to reconnect with us later, after Don’s disappearance in 1997 but
she wouldn’t talk to him.

Jamie has been with me since. She lives next door to me and works every day with me at the
sanctuary. She manages all of the cage building, maintenance, vet care, rehab work, and does
the creative work for our gift shop products. She is the editor and primary writer for the Big Cat




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Times, a quarterly, 32 page, glossy magazine. She wrote and knows our rules and policies
better than anyone here. I rely on her much more than I should.

1993

Age 32. 5/27/93 we rescued 56 bobcats and lynx from a fur farm and there was no turning back
at that point. People started calling and saying, “Would you take my lion?”, “Would you take my
tiger?” and the rest is history. We moved from “the island” where I live now, to the sanctuary
because we needed more space for the cats. The main house was in such disrepair that you
could see daylight through the hall ceiling. My mother walked into the house and burst into
tears.

We had a mobile home next to the house. It did not have gaping holes in the roof. I moved
Jamie in there so she could control her environment. She could lock the doors and neither of us
would have to worry about Don being mean to her. He was often verbally mean to her, so
having that distance between them kept things civil. He never physically abused either of us,
but verbally and emotionally he was extremely cruel.

1994

Age 33. We rescue 28 bobcats and lynx from the fur farm and several other cats, including
leopards and cougars this year from exotic pet owners. Flying with Don scares me because
after he takes off, he falls asleep. On the sly I start taking flight lessons and get my pilot’s
license so that I can bring us down safely, or handle an emergency in flight. I spend almost all
of my time in the air doing mock crash landings. My father takes over my training to teach me
IFR in case we are flying at night or in bad weather.

We have Class 2 permits from the Florida Wildlife Commission to have cats up to the size of
cougars. Don hears about two leopards cubs, out of state, who are held illegally and slated for
euthanasia if they can’t find homes for them. I apply to the FWC for Don to get a Class 1 permit
and am told we have to have 1000 hours with a cat of similar size, weight and temperament.
We had cougars, and based on that I applied. As the time to euthanize the cubs approached, I
called the FWC and they tell me the license has been issued and is in the mail so I should go
ahead and bring them in.

The cubs arrive, but not the license. I call again and am told they issued the license to a
different Don Lewis, which was an absurd lie, I’m sure. Vernon Yates, is a wildlife trapper and
was one of the good ‘ole boys to the FWC. They would have him go in and pick up illegal or
escaped wildlife and then he’d sell it for a profit. The FWC told us we had to turn the cubs over
to Yates until we could put in 1000 hours with leopards somewhere. They brought Yates to our
house and rather than let us gently load the cubs, held us back while Yates terrorized them
trying to shove them into carriers. It was the beginning of our long standing issue with the FWC
and Vernon Yates. Even though we did the hours and got our Class 1 permit, Vernon Yates




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had already sold the cubs and we had no recourse because the FWC almost never takes action
against the bad guys. When there are cats in need, the FWC will send them to the filthiest
breeders and dealers, rather than send them to accredited sanctuaries.

1995

Age 34. We rescue 22 bobcats and lynx from another fur farm and several more privately
owned pets. Every 3 years I take Jamie, drive to the Florida keys and lay crying in a hammock
for three days straight before I can come back to all of the stress caused by living with a crazy
man and caring for over 100 exotic cats. Our first tiger, Shere Khan arrives this year. Don is
spending most of his time dumpster diving and off the grid.

1996

Age 35. I misunderstand a diagnosis and think I’ve been told I have breast cancer. I start
putting my life in order and put everything into land trusts so the vast majority of our wealth will
escape probate. I create one for each property and put it in the file. As long as they are signed
and notarized they don’t have to be recorded in the public record. Filing them all at once would
make it clear to someone looking to file a slip and fall lawsuit, who the underlying beneficiaries
were, so we do it over time.

I’ve seen how people with cancer are treated. Most people don’t know how to deal with death,
so don’t tell anyone. Later I tell the doctor that I don’t feel so bad and ask how long I’ve got.
After laughing a bit, he explains that the diagnosis was stretch marks (from breastfeeding all
those years ago) and that I don’t have cancer. Don wants to move to Costa Rica but I can’t find
a decent vet nor access to enough food for the cats there. Don and I agree that he can take
one million dollars and invest it by himself in Costa Rica. He’s not doing anything for the
business here, so I’m glad to let him do it, to keep himself busy, and show him he’s not able to
do it alone.

My dad retires from his furniture business and comes to work for us. He builds an outside room
for some of our hybrid cats. They are called Bengal cats, but are only 8 lb. cats. The room is
16 x 60 and has 8 of these domestic cats in it. The cats have the full run of the 12 x 60 mobile
home and the new 16 x 60 yard. Born Free and the World Society for the Protection of Animals
see our newsletter, and without checking us out, they tell the press that we have 8 Bengal tigers
living in that small a space and that we are one of the world’s worst zoos.

I’m mortified, but it turns out to be true that any press is good press. It puts us on the radar and
people start coming out to see how awful it is; only to become volunteers and supporters for the
most part. PETA comes here looking for a fight and discovers we are on the same side. We
had bred some small cats (never lions or tigers) in 94-96 but by now I’ve learned that none of
the private breeding of exotic cats is helping conservation, so I’m sneaking cats to the vet every
time Don’s out of town, getting them neutered.




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Don and Joe Ryan try to cheat the owner of Lazy Days in a real estate deal they need to create
their big RV park. Don says they are owned by the mob. Don also says he’s gotten himself into
a mess in Costa Rica with the Villa Lobos AKA the Helicopter Brothers, which is their version of
the mob. I screen and hire an attorney for him in Costa Rica to try and protect him contractually.

Volunteers create our first website. We have been leaders in every aspect of animal care,
accountability and advocacy. The site is first focused on having info on every species of cat.
We do a bio for each of our cats. I start adding every news story about cats, so that “if a cat
sneezes, anywhere on this planet, you’ll know about it” is how I tag lined the website.

1997

Age 36. Don’s just acting stranger and meaner. He can’t remember anything more than a few
minutes, but can recall details of his father being the guy who drove the bodies to the cemetery
in a mule drawn wagon. He retells horrible details of his mother’s abuse of him, but he can’t
remember what he had for breakfast. A volunteer thinks it’s Alzheimer’s so I line up a specialist,
Dr. Gold, to see him. Anne McQueen has a fit and insists he go to her general practitioner
instead and he goes, but I don’t find out until after he disappears that the diagnosis was bi-polar
disease.

Later I find out that Anne has moved $508,969.71 of our property into her maiden name. She
tells me Don knows. Don says he doesn’t. A huge fight ensues between them. Don’s “friends”
prey on his weakness and I see Wendell Williams going to Don saying, “Remember that 2k you
owe me?” and Don pulls out the cash (he always had rolls and rolls of cash) and peels off the
two grand. A few hours later, I witness the same scene over again and Don’s already forgotten,
so he pays Wendell again. I confront Wendell and he retaliates by telling Don that I’m giving all
of his “good junk” to Goodwill when he’s in Costa Rica, so Don files for a restraining order
(unbeknownst to me) so that if it happens again, he can have me removed by the police if he’s
away and I start cleaning up the mountains of trash he’s hauled home.

8/18/1997 Don, age 59, leaves the house and never returns. I have lots of theories as to what
may have happened, but in the end I don’t know anymore now than I did then about what
actually happened. He had been shopping for an ultralight to take to Costa Rica. His van was
found at the Pilot Country Estates airport, but none of our planes (that I knew of) were missing.

I know a LOT more about what Don was doing behind my back and the kind of person he was
with 22 years of hindsight to discover and think about it. I paid a bounty hunter, who knew Don,
to find Don and put out a $100,000 reward. He searched the U.S., Mexico and Costa Rica and
couldn’t find him in hospitals, prisons, or any of his regular haunts. While our real estate
business was worth about 5-6 million at the time, it’s not liquid so I felt $100k was all I’d be able
to raise in cash to stand good on the offer. If someone won’t tell me what happened for 100k
they probably won’t for a million either.




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Because people in Costa Rica are saying they’ve seen Don I try to get the local police to check
it out. They say it’s not in the budget. I offer to pay their way, but they say they can’t do that.
They do end up going on their own dime, but apparently nothing came of it.

As weeks turn into months and Don doesn’t return, I start spaying, neutering and separating
cats as fast as I can. I could only do neuters before, when I could scratch together the money,
because I had no access to our accounts and the neuters weren’t obvious; like a spay would be.
I stopped all breeding at the sanctuary because I didn’t believe the cats belonged in cages and
had learned they could never be part of any release program. We had a couple of accidents
from some extremely old cats, who were thought to be too old, and one male that had been
neutered but not sufficiently. We stopped buying and selling cats. I bought one Fishing Cat
after that year in 1998 because the cat was dying and needed immediate vet care. I paid Don’s
debt on another pair of cats too when the owner told me they were owed money, but that was it.

8/29/97 Within 24 hours of Anne McQueen telling Don’s girls about his disappearance, they
managed to have a pow wow electing Donna Pettis as their spokesperson and hired Ross
Peaveyhouse, Esquire who advertised heavily as a Will & Probate Attorney. They sure didn’t
leave any time for trying to find Don nor for grieving. Anne & Donna Pettis called me from the
office to let me know that they had decided to appoint Anne as conservator of our properties.

My dad sees Anne loading her car with boxes of files and taking them to her house. If she can
hide or destroy all of the trust documents, they can say Don died intestate and take half of the
estate. Don had asked me to remove his daughters as beneficiaries of the PRSL Land Trust,
when they sided with his ex-wife a couple years after the divorce to extort more money, but I
didn’t think he should leave them with nothing, so I didn’t. I had created that trust for them so
that at the time of our marriage anything Don had, that I hadn’t made possible for him, went to
them, and the things I did or we worked on together went into the Guardian Angel Land Trust.
Don named it that because he said I was his Guardian Angel.

What I did next was always referred to, by my father, as my finest hour. Our office was a single
wide mobile home on the east side of Tampa. The sanctuary was nearly 40 minutes away, on
the NW side of Tampa. I told Kenny Farr, who had been a mechanic for Don since he was a
teenager, to hook up one of our tractors to the trailer and pull it into the gates of the sanctuary.
That way no more documents could be destroyed. In a box, under Anne’s desk, packed and
ready to go, were some of the most important trust documents to prove that Don and I had done
estate planning back when I thought I was dying of breast cancer. I was served the following
day with a court order, initiated by Anne, to keep me off the east Tampa property. Bringing the
mobile home, with what was left of our files, to my property turned out to have been just in time.

I had a Power of Attorney to operate our business in Don’s absence and believed the court
would allow me to continue to do so until he was found. The day of the hearing Anne springs on
me the restraining order saying Don gave it to her and said if anything ever happened to him




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she should take it to the police. Anne says she forgot he’d given it to her in June. Don
disappeared in August. She only recalled it in September, at this hearing, to try and get the
judge to make her the conservator of the estate, instead of me. I agreed to a
co-conservatorship with an unrelated third party, instead of taking me chances, as I had never
heard about the restraining order and had no idea what it was about. Later it coincided with
taking Don to be evaluated by a mental health doctor and the issue of me hauling junk off while
he was out of town.

I was appointed Co-Conservator of our estate, but even though the cat care expenses were
upwards of $500k at the time, I was limited by the courts to $125k per year and later they raised
it to $150k. Jamie and I had to learn how to ask the public for money to keep the cats fed. We
built a volunteer force and a volunteer committee to manage them. It’s part of our success, to
this day, that all of the donations can actually go to cat care, rather than salaries, because all of
our cat care is done by volunteers. The admin and overhead of the sanctuary come from the
tickets, gift shop items, and the real estate I donated to the sanctuary during the
conservatorship, when there wasn’t enough cash to pay the $125-150k. The other conservator
and all of the attorneys, who all had to be paid by me, regardless of whether they were working
for me or for Don’s children and Anne McQueen, pretty much destroyed the business.

Jamie went to a private school that used the PACE program. She buckled down and finished
highschool 2 years early at the age of 16 to help me more at the sanctuary.

12/27/97 is where this story is told in detail, but I was reflecting back to when Don was still here.
Sherrie Frost, our housekeeper, owned a cougar and a caracal. One of our volunteers, Tim
Evans, was at her house and was bitten by her cougar. They decided I had deeper pockets and
conspired to say it happened at the sanctuary. Their lie came out in depositions and the case
was dropped. As part of trying to make Tobi, the cougar I owned, look like a dangerous cat, I
believe they set her loose from the sanctuary. She ended up down at the end of the dirt road, at
a Circle K (which was the only thing for miles back then). Police were everywhere, helicopters
were circling the property, and when the manager at the convenience store called he said,
“You’re cougar’s up here asking for a Slurpee.” Don and I drove up in our hatchback. I jumped
out and got between the circle of police who had their guns drawn and pointed at her and yelled
for them not to shoot, while we ushered her into the back of the car.

The only legal trouble I ever had with USDA was when I went on camera as a rebuttal witness
to USDA's position that beating a lion, in a transport wagon, with a baseball bat was "standard
training procedures" and thus not a violation of the Animal Welfare Act. Within a few months of
Don's disappearance USDA sued us and threatened to revoke our license if we didn't pay
$25,000. I couldn't afford an attorney to fight the bogus USDA lawsuit, so I started calling
everyone who had ever been here and asked everyone who came to fill out an affidavit attesting
to the good conditions here. I gathered and submitted more than 2,000 affidavits. USDA
dropped their suit and I learned a valuable lesson about letters to lawmakers.




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1998

My mother is just a year shy of her 30 year pension at Gulf Controls, but I’ve fired Anne
McQueen, Don’s daughters, and the other two women who worked in our office. I also fire our
housekeeper, Sherrie Frost, because she’s stolen my hand written diary and sold it to the
highest bidder. Over the years many copies of bits and pieces of it will surface in the hands of
reporters, the police and people like Joe Schreibvogel. That’s how I got bits of it back. Jamie
and I are caring for 150 exotic cats, and I’m running the real estate business by myself. I learn
that Don / Anne haven’t paid property taxes on anything for the past three years and our
properties are starting to go up for tax deed sale. My mother sees that I am going to burn out
and quits her job to come run the real estate business and handle the books and banking for the
sanctuary. She saves my life.

I keep thinking that once she gets a handle on everything that we will hire her some help, but
she managed to replace all six office staff by herself until her retirement in 2017. I still find the
deals, research the the titles, and buy them. Mom would help with the fixing up part, dealing
with handymen, and my Dad, to get them ready for sale. She’d market them, screen tenants,
collect money and let me know if people stopped paying. I’d always done our foreclosures and
evictions myself, but now I was hiring a lawyer because I just didn’t have time to do that too.

A lot of volunteers enjoyed doing things that were reckless, like going in with lions, tigers and
leopards, taking them out on leashes, and they loved having new babies all the time. When I
said we were not going to buy, breed or sell any more and that we weren’t going to be acting
stupid with big cats some left. Among them was Jim Moore, Susan Aronoff, Judy Watson,
Debbie Sandlin and others who have become my most outspoken critics. They tell Dateline and
People Magazine that I must have done something to Don. To this day they still insinuate that
Don was buried in the septic tank field, but we’d be happy to bet 100k against any accuser's
100k and we will dig it up. Judy had been our Education Director, but was seen forcing a cat
into a carrier, which was against policy, so I’d fired her for animal abuse. She and Jim Moore
started their own backyard breeding compounds, next door to each other in Bushnell, FL.
Susan Aronoff did the same thing in Plant City, FL. Judy didn’t make such crazy accusations
until after I fired her years later.

I’m being effective in getting the message out that big cats aren’t toys to play with or props to
bolster the image of people who have nothing else going for them. There is no argument for
what the animal abusers want to do, so the only thing they can do is try to discredit me.

9/17/98 I gave Don’s girls their trust to manage themselves; mostly so they wouldn’t be able to
say later that I mis-managed it. I think it was about 1.2 million. They went out and bought new
houses and cars and have nothing to show for it any more. I had offered them their million
dollar plus trust and half of anything that they might have been entitled to, if they would allow me
to operate the business without the unnecessary expense of the conservatorship, but they
wanted more and fought me instead.




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Jamie and I attended the International Small Cat Workshop in Las Vegas and I built a
relationship with Pat Quillen, who was considered one of the foremost experts, along with Dr.
Jim Sanderson, in small cats. That led to being part of the Felid Taxon Advisory Group, run by
the AZA zoos, to figure out where small cats in zoos were and how to best allocate space based
on their Species Survival Plans. We hosted the first such conference in Costa Rica that year
and met Dr. Sanderson there. He works with some rich prince to fund $100k a year in small cat
in-situ conservation programs. We are now (2019) able to offer $100k a year to do the same
and often rely on Dr. Sanderson vetting the programs in advance of our research.

So many people are breeding white tigers, who are all inbred and cross bred that the USFWS
creates a “generic tiger loophole” so they don’t have to process so many requests to buy, breed
and sell tigers who don’t have pure pedigrees. We begin lobbying to rescind that loophole and
finally succeed in 2016. This was a critical issue in finding Joe Schreibvogel guilty of trafficking
in the tiger cubs he sold after 2016. Because USDA and USFWS so rarely enforce their laws,
the bad guys haven’t seen any need to abide by them.

1999

Age 38. 3/16/99 is the full story. I spoke with Susan Ranella Lawson who relayed a strange
story to me. She was calling to have me ship her a lynx or lynx hybrid kitten that Don promised
her in the winter of 1996. She said he had arrived at her house in an old, beat up greyish blue
van and had a very spotted female bobcat, the hugest cougar she had ever seen in her life and
a 12 or 13 year old boy. She thought the kid must be our son. To this day I have no idea who
the scared little boy was or why Don was travelling with him.

I got lots of strange calls from people who said Don had done all kinds of things. Some said
they were his illegitimate kids. Most were trying to angle for money or free cats.

White tigers. I got a call from a Dr. Laughlin who had been the vet to Siegfried and Roy and had
dealt with over 250 white tigers. What they and the zoos were doing was causing cats to be
born with open spines, club feet, crossed eyes and a host of other birth defects. He gave us all
that he knew on the subject because he felt we had a big enough presence in the media to
make the abuse known. It took until 2011 for AZA to ban the practice in their member zoos.
Everyone in the industry knows we were the ones driving public opinion against their lucrative
inbreeding, pimping out and sales of white tigers that could fetch $60,000 each in their heyday.
Zoos hate us.

8/24/99 Jamie’s half brother Mickey dies in a car accident. His mother had broken his neck
when he was only 7 or so and poured scalding water on his little sister Mary, so we had custody
of them for a time when I was married to Mike. Mickey was a very sweet, clingy boy. Jamie
loved him dearly. Jamie began writing our quarterly magazine that was initially called Cat Tales
and later the Big Cat Times. She started selling Snow Leopard Enterprises products in in our




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tiny, 10 foot square “gift shop” and since then we have always been the second largest retailer
of these products that protect snow leopards in the wild.

I began lobbying for the Captive Wildlife Safety Act which would be a bill to ban private
possession of big cats.

2000

Age 39. Remember Y2K? It took out all of our medical records for the cats. I had hurt my back
and couldn’t get out of bed for several weeks, so I took advantage of that down time to rebuild
all of our medical records on 100+ big cats from scratch.

2001

Age 40. 9/11 is chronicled in my diary but not the aftermath. Donations stopped. Tourism
stopped. People were just frozen in fear, glued to their T.V.’s for months so volunteerism
stopped. I sold my favorite car, a 1937 Mercedes Gazelle replica, my jewelry and everything of
any value that I could liquidate to keep the cats fed.

10/18/01 Michael Spitz claimed that he was working out at the Hwy 92 farm in Seffner, on the
front end loader, on the Saturday before Don disappeared and heard two gunshots. When he
went to investigate he saw Don’s son, Danny Lewis, standing about 15 feet away with a gun in
his hand. Don was dead on the ground, with two bullet holes in his head. Danny threatened
Michael and his family if he were to ever tell.

They loaded Don into the bucket of the loader and covered him with palm leaves. They buried
him in a pit that was 60 feet by 200 feet and maybe 30 feet deep under concrete that they were
filling the hole with. Michael says he is dying of AIDS and only has a couple months left to live
and wanted to come clean before he dies. The police didn’t find him, but I doubt they bothered
to dig up all the concrete either. Later detective Jorge Fernandez left word on my cell phone that
he received my faxes and that they have determined that Danny could not have been involved
because he was in a high security rehab, in Avon Park, with guards until the end of September
in 1997 when he was transferred to jail for outstanding charges that were against him here. I’d
heard he had run over and killed a boy, and then backed over him a couple more times, but was
saying it was an accident.

I was down to the last $20k in the bank, which wouldn’t feed the cats more than another week or
so, and paid a firm to do a SWOT analysis and some marketing for us. I decided to stay
focused on our strengths and opportunities. At the time we were known as Tampa’s Best Kept
Secret. I set out to change that by joining all of the surrounding chambers of commerce and
talking us up everywhere I could get an audience. I can’t tell you how much I hate doing that
because I am not an outgoing people person.




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2002

Age 41. 11/1/2002 I met Howard Baskin and my life takes a huge swing toward happiness. I’ve
had a number of awful relationships, where I just keep attracting the same manipulative,
abusive type into my life. I finally end up going to a hypnotherapist, for my weight, and come
away with a plan to seek out a man who would never appeal to my instinctive self. The day I
met Howie, I was pretty sure he fit the bill. Howie was conservative, soft mannered, sensitive,
funny and really treated me like a whole person. To this day we have never had an argument or
a harsh word with the other. We both look for ways to make the other person happy and we
both have the good sense to just give the other a bit of space if their day has been difficult. I
can’t say enough good about Howie.

He’s been wonderful to Jamie and has made it possible for Big Cat Rescue to become
financially secure enough that now we can both focus on ending the problem at its root.
Primarily that means to end cub handling and private possession of exotic cats.

2003

Age 42. 2/3/2003 I wrote Howie: Don's death certificate arrived today. I read it and looked out
the window. Some time later I realized the sun had gone down. I don't know where I went. It
left me in a really weird mood. This may be the closest thing I get to closure but many of the
blanks were filled in with the word UNKNOWN so it didn't help much.

Howie meets the family and volunteers and everyone, even my father, just loves him. Being a
Harvard MBA, and having a law degree, and having consulted for several small businesses to
help them go big, Howie sits me down at the kitchen table to do an analysis of what I’m trying to
accomplish, where we are, and where we can find low hanging fruit to get us moving in that
direction. Until 2003 the sanctuary had never broken even. I’d always had to supplement it with
my real estate business income. Don being declared dead (only because 6 years had passed.
No body has been found) meant the conservatorship closed and all of the expenses went with it.
The insurance money was $300k, so that was what really made 2003 our first year to break
even, since it all went to the cats.

Howie felt like the tour revenue was our easiest thing to raise, so we raised our tour prices, and
offered some specialty tours, and the panic from 9/11 was finally subsiding and people were
traveling again.

Meanwhile the Captive Wildlife Safety Act became law in December but it had a loophole,
negotiated in the eleventh hour by the bad guys, to exempt anyone with a USDA license. That
was a huge, gaping loophole because to get one was one page, name, address, telephone
number and $35.




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MySpace came out and we used it to attract like minded people to our cause. Newspapers are
including ways for people to comment online, so I set Google searches for any term related to
big cats and weigh in on every one of them.

We attended the first Taking Action for Animals Conference in Washington, D.C. and lobbied to
close the loophole in the Captive Wildlife Safety Act and to rescind the generic tiger loophole.
We have attended every one of them since and for the past several years have been the major
sponsor of the event.

2004

Age 43. I’d been tracking how many calls we’d get for cats vs the number we could actually
rescue. At its peak we had to turn away 312 big cats in 2003 and every other year that number
was doubling. Even though the Captive Wildlife Safety Act wouldn’t be enforced at all until
2007, the number of big cats bred, used, discarded and in need of rescue actually dropped in
2004 to 110. I knew legislation was the only way we’d put an end to the abuse. We invested
$25k per year for a program where we could send out alerts to our mail list and people could
click to send emails to their members of Congress or state reps. Through CapWiz we were the
first animal welfare presence to be promoted on MSN, Yahoo, AOL, Congress.gov, PBS, the LA
Times and E-The People.

We joined Facebook. We set up on a competitor site where you could create a group of like
minded people. So many people were finding us and asking us about big cat abuse they
witnessed, or whether they should donate to some traveling show with big cats, so we created a
site where people could upload their photos, videos, reports, etc. We would post all of the news
about big cats on our BigCatRescue.org pages, but there was no way to organize all of it by
abuser name. That competitor went out of business, so I had to rebuild all of the data at what
became the 911AnimalAbuse.com site. The bad guys could no longer evade their evil histories
and they hated it...and me.

USDA bans contact with adult big cats after Haley Hiderbrand is killed posing for her high
school yearbook photos with a tiger. We’d been pushing both a state bill in KS and asking for a
federal bill to that effect.

Jamie and Howie pulled off our first big gala called The Fur Ball. Howie built relationships with
Cox Radio and they advertised the annual event so much that whenever people saw my logo
they’d say, “Oh! You’re the people who do The Fur Ball!” My answer would be, “We do a lot
more than throw a great party. You should visit the sanctuary.” The gala was so popular and
won all kinds of awards but the best one was the first year we didn’t do the Fur Ball, which was
2010, when we won best gala, and hadn’t even had one that year. People just remembered it
so fondly from years before they wrote it in as a contender.




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Howie managed to get those green highway directional signs to the sanctuary. I’d been trying
for years to no avail. Developers in the area wanted our land and had been threatening me for
years because there was no zoning provision for zoos or big cat sanctuaries. Howie got us
rezoned as a Planned Unit Development so that we could never be forced off the property. He
did that by cultivating relationships with the county Commissioners and others in the industry
who could help. I get a Google grant for free advertising valued at $40k per month.

This was the first year we had a monthly e-zine called the AdvoCat and we started our intern
program. Jamie completed the first full length movie called The Big Cat Picture that we self
distributed on VHS tapes.

11/1/2004 Howie and I married. On our honeymoon I wrote our 20 year plan to end the
suffering and abuse of big cats.

2005

Age 44. We joined YouTube and that was a huge turning point for us because video is where
we shine. When I could only afford to hire three paid staff, I’d hired a volunteer manager, a gift
shop manager and a videographer. YouTube became our best way to reach the most people
until Facebook caught up and surpassed it. This was the first year that we sold gift items online
via eBay, Cafe Press and Zazzle.

Once a month I’d drive the Spay Day trailer to different vet’s offices in the county for Spay Days
where more than 100 trapped feral cats would be fixed for free. I bought the trailer and drove it
for the cat rescue groups so they could make sure and have all of their equipment at the
locations and ready to go at 5am. I was on the board of the Humane USA PAC and a member
of No More Homeless Pets.

Howie turns his attention to donations and building relationships with our higher net worth
donors and finding ways, like the Birdies Championship, to leverage those donations through
matching funds.

2006

Age 45. USDA, after hearing from us ad-nauseum, finally bans the declawing of big cats.
We’ve become a thorn in their side by helping whistleblowers file complaints against big cat
abusers and USDA shuts down 9 facilities, compared to only 3 in the previous 2 years. 7
countries enact laws to ban circuses, possession of big cats and canned hunts. We are sending
letters, via our CapWiz system, to issues world wide and are able to target the proper authorities
down to the city level.

2007




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Age 46. IFAW reintroduces Haley’s Act and I spend most of my time and energy going back
and forth to D.C. and getting people to contact Congress to support it. Big Cat Rescue was
finally accepted into the Combined Federal Campaign, which reaches all government
employees. We were in the press 85 times, in addition to all of the online commenting I’d been
doing. Cambridge University Press included my article on cause related marketing in their text
books and the following year named me in their Who’s Who Among Executive and Professional
Women. Howie was featured in a U.S. News and World Report about “second” careers.

Made myself very unpopular by posting online an interactive map that showed who all the big
cat owners were and where they kept big cats. We were able to go from 3 paid staff to 7.
Jamie began working with the Ameri-Indian tribes in Guyana to provide ecotourism as a way to
save the jaguar and other big cats in their region. The intent was to stop the poaching they
were doing for U.S. zoos under the guise of the cats being “problem cats.”

2008

Age 47. Joined as a founding member of the International Tiger Coalition which was 42 of the
biggest animal protection groups, such as WWF, HSUS & Born Free. We launched the
ChatBigCats.com community and by 2012 it had 34,359,740,539 photos and videos shared
there by other cat lovers. That platform died too. It was the same one I’d started the 911 site
on. We had a feel good site and an expose’ site. I forget the vendor name now.

AZA warns their members to stop breeding white tigers because, thanks to Big Cat Rescue, the
gig is up. Most ignore the directive though because it came w/ no penalty for failure to comply.

CITES Decision 14.69: Parties with intensive operations breeding tigers on a commercial scale
shall implement measures to restrict the captive population to a level supportive only to
conserving wild tigers; (we thought this meant something, but to this day it’s not been enforced)

Our legislative success results in our lives being threatened by the breeders and dealers and 12
tires on our vehicles all being rigged to explode at high speeds over a 3 mo period. Jamie is
driving a van load of interns during one such blowout on the highway and only her quick reflexes
save them all from dying.

2009

Age 48. Howie sets up an endowment fund with the Community Foundation and even though
we can’t afford it, we manage to set aside money every year as a pension fund for the cats. We
were featured by Encyclopedia Britannica for the second time. The first time was an article
exposing the white tiger fraud and this one was called The Big Cat Bailout.

Worked with Species Survival Network to provide updated information the CITES Secretariat so
that it can be distributed again to the 175 governments that are Parties to CITES. Big Cat




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Rescue was reported favorably in the news 81 times in 2009. Invested in Raiser’s Edge to
manage our donor base and joined Twitter.

We are asked by the Louisiana Department of Wildlife to rescue Tony the truck stop tiger from
Michael Sandlin. It’s a long story, but to summarize, we were the first organization to ever hire a
lawyer to represent an animal, I think. We fought for years to free Tony and the Animal Legal
Defense Fund picked up where we left off. Tony died in that miserable truck stop. Sandlin was
a friend of Joe Schreibvogel’s.

2010

Age 49. CNN interviews me about Tony the truck stop tiger. More than 750,000 viewers. In
2010 I discovered that some animal issues weren’t being reported to me, so I created an online,
Intranet for the sanctuary that we still use today. I created 29 duplicates of the site for other
sanctuaries to use for free. In essence, as soon as a volunteer sees something, they log it and
it generates an email to me, the Operations Manager, and anyone else who needs to see it,
such as the maintenance crew or vet team.

We had some major wins this year, which of course puts a target on my back by the people who
can’t exploit the cats as easily any more. OH Gov bans private possession of big cats.

After many years of petitioning for this, starting in 2007, the FWC began enforcement of a
$10,000 bond requirement in FL for anyone with a big cat. The bond requirement was tied to
the Python bill, so all the reptile dealers came out against me for pushing it forward. Fox
Penning is banned and animal lovers outnumber hunters for the first time at FL stakeholders
meeting. We were pressing for passage because they would use bobcats as bait as well as
foxes. PetsMart bans wild animals from coming in stores after we contacted them about Kathy
Stearns, from Dade City Wild Things taking tiger cubs in the stores to get customers for her pay
to swim activities.

2011

Age 50. I’ve been documenting all of the big cat abuse at 911AnimalAbuse.com and have
organized the pages by the owner’s name because they keep changing business names to
escape their misdeeds. This is how I learn that Joe Schreibvogel is working under at least 21
aliases. Most of the bad guys have a few, but he’s got 21. Howie hires a PR expert to help him
craft a packet of information to send to venues that we discover are going to have a cub petting
display. Our mail list is 60,000 people by this time so if the venue doesn’t agree with us, after
seeing all of the evidence that cub handling is abuse, we send an alert to our supporters who let
them know it’s bad for business too.

Some protests by our supporters spring up and the media now starts to use headlines
questioning whether petting tiger cubs at the mall is a good thing. Until then all of the press has
been in favor of petting cubs because that kind of eye candy sells papers.




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July 2011. Because of my service with the International Tiger Coalition and our work to free
Tony the tiger, I’m approached by the pro bono attorney for Ian Sommerhalder, the star of
Vampire Diaries. She wants me to pull together the most active members of the group for a sit
down together in D.C. We do that at the IFAW HQ and Howie goes with me. At this point he’s
been primarily focusing on getting the sanctuary onto sound financial legs. He’s going with me
because he’s good at asking questions and getting to the bottom of a matter. He’s seen this
group in action before and wasn’t impressed.

Jeff Flocken, who was the head of the International Fund for Animal Welfare’s (IFAW) US
branch at the time and is now head of Humane Society International, did a masterful job of
facilitating the meeting. Over the course of the day we discussed the Big Cat Crisis. Each
person from the dozen or so of the organizations who came, would say what they thought the
problem was. Most said trafficking, canned hunts, and private possession. When it came to
me, I said it was cub handling. At first you would have thought I had two heads, the way they
looked at me, but I explained that all of the excess cats, who end up in awful situations, start out
as cub petting and photo props, when they were pulled from their mothers at only days old.

I said if we could stop the cub petting and rescind the generic tiger loophole we could stop 99%
of the problem. In the end, the group decided on a three pronged approach that added a
federal ban on private possession, to those 2 suggestions. We agreed that USDA should be
petitioned to actually enforce the animal welfare act, because pulling cubs that young, to pass
around for handling, should be considered harassment, abuse and a “take” under current law.

Meanwhile AZA tells their members to stop inbreeding white tigers or they won’t be allowed to
participate in Species Survival Plan breeding of the purebred tigers. This causes most of them
to stop.

10/18/11 Terry Thompson sets loose 56 big cats, bears, wolves and other exotic animals before
committing suicide. On 12/12/2017 I detailed a conversation that I believe to be with Terry
Thompson the day he did that. I’m pretty sure we coined the phrase “Zanesville Massacre” as
the first place I ever saw it was on our BigCatRescue.org page about it. What I remember from
the call was that it was approaching dusk when a call came in as UNKNOWN. The man on the
other end was screaming, "I hate you but I hate them more!"

I get a lot of rabid calls from crazy cat people so I rarely take note of their ramblings unless they
will give me something concrete that I can use. He was screaming, and just about every other
word was foul and abusive cursing, but he was saying that everything I had suspected about
how these cubs are bred, trucked across country with no permits or record keeping, used as
pay to play props and then how they would just disappear was all true.

He said he knew it was true because he had been the one trucking them around the country
between “doc” Antle, Joe Exotic, Kathy Stearns, Mario Tabraue, Gregg Woody, (another name
that I recognized at the time but have forgotten now that he's long gone out of business) and a




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whole bunch of names that I either didn't know, or couldn't remember because he was firing
them off so fast in between curses.

2012

Age 51. 5/7/2012 I document the time HSUS paid my way to Ohio to be a witness for the state
level bill to ban exotic cat ownership. Joe Schreibvogel had his camera crew in tow and tried to
intimidate Patty Finch, the Executive Director of the Global Federation of Animal Sanctuaries
and me. He had jumped her from behind to try and film her and I started climbing over the back
of the chairs to chase him. He and his crew ran.

Howie attended most meetings in D.C. with me as he was getting more involved politically. In
fact, since that July 2011 meeting at IFAW Howie has continued to have the group meet, by
phone, every Thursday, to hold everyone accountable for staying on mission. He’s still leading
those calls in 2020.

2013

Age 52. I develop an app for both iPhone and Android where the stories of our cats are told in
audio, text and photos, along with all of the big cat issues. It’s still in use and updated every few
months. Jamie went to Spain to help a sanctuary for primates build a sanctuary for circus lions
and tigers they were trying to rescue. I use the app to power a system for our tours where the
tour guides scroll to the cat or issue and play it for their tour. This ensures that every tour is
accurate and gets across the most important points to help us end the abuse and captivity of big
cats.

We hosted our first legislative Fly In this year and brought in some of our supporters in key
Congressional districts, so we could go with them and help them explain the need for the Big
Cat Public Safety Act.

In early 2013 we obtained a consent judgment in Federal Court in Tampa for a little over $1
million against Schreibvogel personally and against the G.W. Zoo.



2014

Age 53. My maternal grandmother, Jacqueline Norris died today. She’d been in failing health
so I had moved my parents into one of the mobile homes at the sanctuary so Mom could take
care of MommaJackie and call me if she needed more help. My father’s health is failing now, so
I’m glad they are so close and he isn’t driving as much.

I think it happened before 2014, but seems like there were a number of people contacting us
this year wanting to do documentaries or series about us. None came to fruition, although we




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did a number of shows over the years where we were partial or most of the focus. We’ve been
in the media many thousands of times now. I chalked it up to all of the trash talk against me by
the animal exploiters. Most hid behind aliases, such as TopCatsRoar (Barbara Hoffmann a
circus tiger tamer) and BCR Watch (Joe Schreibvogel) and REXANO (Zuzanna Kukol) and Juan
Garcia, who I think is just an alias. I think most shows don’t want that sort of controversy and
they don’t care enough to do the research to discover that the stuff said about me is all lies or
twisted and taken out of context. We posted a page at ​https://bigcatrescue.org/lies/​ that
addresses their most common lies.

11/1/2014 I wrote a piece, and printed a book called 100 Things Howie Brought Into My World
or The First 12 Years. These were substantial changes and improvements.

2015

Age 54. 1/4/15 Howie has open heart surgery to replace a bad mitral valve. This was around
the time of the “speed trap heart attack” I sent earlier as #Threats.

3/6/2015 I have to go to the Oklahoma Bankruptcy Court’s hearing on assets in the Joe
Schreibvogel case alone because Howie can’t fly after his surgery. He insists that I hire a
bodyguard for the whole thing. 3/7/2015 Howie reports on the case to our volunteers and there
is a great overview in my journal.

3/17/2015 My father has always been hard to buy for because he’s such a simple person and
doesn’t want anything. His mother always insisted that his brother would have been the king of
England if only one thing had happened differently in their genealogy. She’s been dead a while,
so I can’t ask her, so I sign up for Ancestry.com I start building out the family tree and discover
that Charlemagne, Charles the Great Holy Roman Emperor (742 - 814) is my 39th great
grandfather and paintings of him even show he looks like my dad and I. I start printing off these
histories, with all of the photos and stories that others have added to Ancestry, for Dad on
birthdays, Father’s Day, Christmas and such. He kept them in a big ring binder because he
never did take to the Internet.

4/1/2015 I was photographed in Mexico City with Antonio Franyuti, Founder of Animal Heroes,
and Lourdes Lopes, Federal Deputy for the Green Party PVEM, as we entered into a
Declaration that we would work together to find and build sanctuaries to care for the big cats
who have been banned from being used in public exhibition. The contract was signed following
a two hour presentation to the media and members of Mexico’s congress. The Mexican
government never did follow through. Instead they send cats to the breeder / exploiter Eddie
Serio of Black Jaguar White Tiger.

5/28/15 I was named an Animal Hero at the Animal Rights National Conference 2015 along with
members from The Humane League, PETA, Toronto Pig Save, Vegan Outreach, and the
Anti-Fur Society.




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6/2/2015 I document a conversation with Jackie Thompson the ex wife of Marc Thompson. She
says Joe hired him to kill me because he had been a sniper in the military.

7/29/15 CNN At This Hour broadcast, anchored by John Berman and Kate Bolduan about the
tragic murder of Cecil the Lion. It was only 5 minutes but I shared my belief that all trophy
hunting is bad and that the people who do it, arguing that it is for conservation, are just trying to
justify their heinous acts against nature.

I have to hire a bodyguard to protect me at a public meeting where my detractors have
threatened my safety. I have to speak at the meeting and expect that at the very least, these
people who have been stalking me will be in my face and trying to intimidate me from speaking
publicly at the Florida Wildlife Commission meeting on Sept 2. My testimony ends in deafening
applause because we are finally packing the room with more animal lovers than animal killers.

The next day Joe Schreibvogel’s online countdown to a “murder suicide” in Tampa has expired
and I’m still alive.

11/3/2015 Howie and I get concealed weapons permits.

12/9/2015 I presented at a Congressional briefing in support of the Big Cat Public Safety Act to
a standing room only crowd.

2016

Age 55. 3/4/2016 I had to hire an off duty officer because the crazy animal abusers have come
to town for a conference called Take the Conversation Back. It’s being run by the Cavalry
Group, who are considerably better organized and educated than our typical opponent.

3/7/2016 Joe Schreibvogel posts a photo of an aerial of our house to show that he knows where
I live and it freaks my daughter out. I’ve always used the sanctuary address for everything, so
that no one would know, but it came out during depositions when Howie said where he lived.

4/3/2016 we get what looks like a favorable ruling from USDA saying they have issued a
technical note against pulling infant cubs for cub handling until they are four weeks old. We are
thrilled because if breeders have to leave the cubs with their moms that long they will be like
handling feral cats and no one will pay for that. USDA never actually enforces it though.

5/6/2016 the USFWS finally rescinded the “generic tiger rule” which means anyone who wants
to breed, buy or sell tigers has to apply for a Captive Bred Wildlife permit.

8/26/16 My dad died at home on his 75th birthday. 125,256 people commented about how
wonderful he was on Facebook. I stopped going to church. I’d been going twice on Sunday




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and every Wednesday, most of my life, because my parents had fought over it when I was 11 or
so. I always felt that God was a lot bigger and better than the petty god described in the Bible,
and so did my father. I feared that if I didn’t go to church, it would cause them to fight, because
Dad had openly stated similar beliefs.

9/24/16 Jamie represented us at the CITES and we hosted a side event to give away wine and
swag to members in order to get them to listen to us explain why we have to stop the captive
breeding of tigers if we are ever going to save them from extinction. At this event Jamie is able
to approach lawmakers who are trying to de-list the Florida panther to make an impassioned
plea to save them.

10/26/16 TripAdvisor and Viator decide to stop promoting places that offer pay to play with big
cats and some other wild animals. Owners of more than 200 malls agree not to allow cub
handling at their venues any more.

2017

Age 56. 2/19/17 Ashley Wanda called and left a voicemail on my phone. 813 296-0470 She
said she’s disabled and lived at the GW Zoo. She said she heard Joe Schreibvogel saying he’d
try to hire others to kill me and then he offered her the same deal; a couple thousand if she’d do
it. She said her father was a police officer and that she felt both her life and my life were in
danger. She said she was reporting that crime and all of the drug abuse to authorities. She
said she witnessed a lot of abuse while there and was especially upset about beating the cubs.

11/8/2017 Today Howie called and said the FBI believes my life is in danger. Cardiogram tells
me that spiked my heart rate from 70 to 95 but that’s nothing compared to last Wednesday
when it went to 143 for no apparent reason, so all in all, I think I’m taking the news pretty well.

Our attorney, Heather Hintz, in OKC said the FBI there intercepted something to make them
think I’m in imminent danger, so they contacted the FBI here, who are supposed to call Howie
and I later today. They don’t want us to tell anyone because they want to catch the person and
use their testimony to put Joe Schreibvogel away for a while.

11/11/2017 I don’t know how my story will end, but nowhere in my text will it ever read…”I gave
up.” I go on at length in this entry about all the ways I was trying to “lay low” without letting
anyone (even Jamie) know why.

12/1/2017 Today Matt Bryant, the USFWS Special Agent, called Howie to tell him that they are
back “in control”. He went on to explain that sometime back he’d been able to turn one of Joe’s
workers into a Confidential Informant and that the informant alerted him to the fact that Joe
asked to pay him $10,000 to kill me. The FBI / USFWS told the CI to tell Joe that he knew a
professional hitman, so Joe said he’d pay that person 10,000 to kill me. Meanwhile, one of
Joe’s drunken, doped up derelicts said he’d do it, so Joe said he would pay him. That’s what




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caused the panic in the agency to alert me that I was in danger, because now they did not
control the situation and they couldn’t be sure that the derelict wouldn’t hitch a ride to Tampa
without being detected.

2018

Age 58. I was chosen as one of the judges for the Jackson Hole Wildlife Film Festival. The
Animal Finder’s Guide goes belly up, making it harder for the bad guys to buy, sell and trade
wild animals. This is when I kick into high gear our filming, editing and producing in 360. I see
zoos as using their considerable following and infrastructure to be places of learning in virtual
reality settings. If we are going to lead them there, we have to show them the demand for it
exceeds the demand for seeing wild animals languishing in cages.

3/2/2018 Subsequent to being asked to speak last year at the Jackson Hole Film festival where
big cats were the species of discussion, I became one of the judges for the Big Cat Film Festival
to be held in New York City on March 2-3 for World Wildlife Day. The trip included special
seating at the invitation only morning event held at the United Nations in a room just down the
hall from the Security Council room. The UN event, moderated by the CITES Secretary General
John Scanlon, brought together an interesting mix of conservationists, NGOs, representatives
from numerous governments around the world including a representative from the US State
Department, and big cat documentary filmmakers.

After the event Howie suggested we corner a guy from the state department about a comment
he’d made because we thought it was helpful to our cause. That led to us getting an email
(after MUCH work from Howie) saying that captive breeding of tigers was negatively affecting
the USFWS’ ability to protect wild tigers.

6/24/2018 Amazon Asked Me to Speak at their Conference because we are “punching above
our weight” when it comes to getting our fans to support us via Smile. They really should have
had Howie come speak because he’s the one who has really driven our efforts there.

6/30/2018 Joe Schreibvogel burned the records, gave away the cats and is on the run. Howie
learned last night that Joe Screibvogel and John Reinke tossed the offices at the GW Zoo and
after secreting away several boxes at Joe’s mother’s house, he burned the rest so that Jeff
Lowe couldn’t have it. He reportedly gave away ALL of his lions, tigers, ligers, primates and
every other animal at the zoo, at least on paper, rather than let Jeff Lowe profit from them. And
now he’s on the run.

The USFWS says they were able to get the telephone recording they had been trying to capture
for months that will put Joe away for “murder for hire” in their words. They said they hope to be
able to arrest and indict him within a week, if they can find him. They are going to S.C. and
some other places to interrogate witnesses to the murder (mine) for hire scheme. 9/18/18 is our
press release after Joe was found and arrested in Gulf Breeze, FL.




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9/16/2018 Howie gave a great overview of the lawsuit filings that I copied into my diary.

9/28/18 The CI Who Saved My Life Was James Garretson...And no stranger words could be
uttered than that.

I spent the better part of 2006 and 2007 getting James Garretson shut down and ousted from
Florida. From what I could find, he started out preaching the gospel in TX by dragging along
lions and tigers to revivals when he was 22. In 2003 a woman had her arm ripped off by one of
his tigers and she bled to death in under two minutes. He started traveling with the Killer Tiger
act because people would pay to see the tiger who killed a woman.

He brought a trailer load of big cats to Frost, FL where a neighbor and the now deceased Roger
Figg, sent me numerous emails about the neglect of the cats and the decrepit conditions. I
complained to USDA and FWC but all they did was provide him cover, as is still their fashion. I
took it to the media and posted it online until there was enough outrage about him keeping 8
tigers in a box truck with no way to cool off in the Florida heat. In typical, backyard breeder
fashion, Garretson said, “Carole Baskin can have all my damn tigers. I’ll just get more babies.”

I was in no position to take his tigers at the time, so all I was asking is that the breeding stop
and the cats get proper care. Finally USDA revoked his license and he tried to operate under
his girlfriend’s name but strangely, USDA managed to figure out what was going on and
refused, so he moved to Kauffman, TX to work under Marcus Cook’s license and apparently
later to GW Zoo to work under Joe’s. He hated me as much as any of them and so it comes as
no surprise that Joe would try to pay him to kill me. James doesn’t seem to remember that I
was the one who had run him out of Florida and I’m happy about that.

10/15/18 Joe Schreibvogel is just one of several exotic cat exploiters who has threatened my
life. At this entry I document being physically and/ or verbally attacked over the years by
Vernon Yates, Dennis Hill, and Alan Rigerman. I’ve endured a mail box full of spiders, a mail
box full of snakes, and having powder sent to me in an envelope during the Anthrax scare. I’ve
even had to have my mail box checked by the bomb squad when the flag was suspiciously
wired by someone wanting me to think they’d rigged the box to blow. Most of their threats are
veiled either in content or by the online aliases they create for such purposes.

10/23/18 Howie’s article about how the animal protection movement mirrored the women’s
rights movement is published in Encyclopedia Britannica. Just this year scores of clothing
designers and retailers around the world have banned fur from their products—including Coach,
Burberry, Versace, Chanel, Diane von Furstenberg, Michael Kors, Jimmy Choo, Donna Karan,
Armani, Hugo Boss and Gucci, to name just a few. Even major cities like San Francisco and Los
Angeles are banning the sale of fur outright. Indiana and Ohio have yielded to public pressure
to scale back bobcat hunting and other states are seeing similar changes coming.




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11/4/18 Malise Turner Says Chris Hansen Out to Kill Me. Details at that entry.

2019

Age 58. Florida Bar Animal Law Section Agrees with Howie that the FWC does not have the
constitutional right to prevent lawmakers from passing a ban on the private possession of big
cats. This is something we have been researching since the late 90s, and Howie has really
gone big by getting attorney’s and law professors to agree on what the law really says. We are
still trying to get someone at the state attorney level to agree before we poke the FWC bear.
They give me enough Hell as it is, and going out against them on this is going to really make
them mad and vengeful.

1/28/19 I’ve been saying zoos should embrace virtual reality rather than hold wild animals
hostage, but I don’t really know what’s involved with that so I hired a developer to create our first
CGI tiger for Oculus. In March I designed and opened the world’s first augmented reality zoo.
More at ARzoo.me

2/25/19 has a timeline of Joe’s threats but I see that I hadn’t marked the entry with the #Threats,
so here they are:

       5/7/12 I get between Joe and his film crew when they try to intimidate Patty Finch at
       Ohio legislative hearing.

       5/26/15 Jackie Thomson tells me of Joe’s plot with her husband Marc, John Finlay,
       Staff, Chris Hansen and others to drug me w/ ketamine, cut me up and bury me on
       Hansen’s Florida swamp. Jackie says her husband was a sniper, so that’s why Joe
       came to him afterward offering to pay him to kill me. Jackie says Joe keeps telling
       everyone I am the reason they can’t do what they want with wild animals any more and
       that’s why they have to get rid of me.

       6/26/15 Joe posts on Facebook that there is nothing on his bucket list but me. Same
       day I’d been intimidated by hunters at the FWC meeting.

       9/1/2015 Hired off duty police officer to accompany me to FWC meeting.

       9/3/15 Joe posts on Facebook a murder / suicide threat against me.

       3/4-6/16 Calvary Group is in town for a conference. I have to hire an off duty police
       officer to protect the sanctuary. 5 people on a tour act weird enough that I photographed
       their tag as they were leaving. The man in the group throws such a fit that I delete the
       tag number from my phone, but I’ve memorized it by then. Kept shades closed at home
       during this time.




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       3/7/16 Joe posts an aerial map with our house circled and says he’s finally found where I
       live. That really freaked Jamie out.

       3/15/16 LaWanna Mitchell, who manages our online team of supporters, had to change
       her personal Facebook privacy settings due to all of the threats she was getting. It was
       the day after the judge granted us a receiver in the Joe case.

       2/19/17 Ashley / Wanda said Joe was trying to hire people to kill me and made her the
       same offer too. She said he was telling people he’d pay a couple of thousand if they’d
       do it.

       8/16/17 Man leaps out of a car, at the intersection of Sheldon / Old Linebaugh and
       launches toward me as I’m waiting for traffic to clear to cross on my bike. I take my
       chances w/ traffic to avoid him and don’t look back until I’m about a quarter of a mile
       away.

       11/18/17 FBI or USFWS calls and says I’m in danger.

       11/18/17 I’m wondering if the white ataxic tiger cub and the golden cub that were seized
       from a rapper in New Orleans a while back came from Joe. Wondering if that is what
       launched the USFWS probe that resulted in them learning about Joe’s threats to kill me.

       12/11/17 I’m wondering why Joe hasn’t been arrested already since he’s on Facebook,
       blowing stuff up, taunting the FBI and telling them he has pipe bombs in his house.

       11/4/18. Malise Turner says Chris Hansen is out to kill me. She reminds me of the night
       Jackie Thomson had called and says Jackie had played a recording of the conversation
       where they were devising a plan to kill me. I barely remember the recording; and think it
       was because it was so hard to hear over the phone, that I wasn’t following it. Malise said
       that Jackie had called after Joe blew up the blow up doll, dressed to be me, because
       Marc had said they’d have to postpone killing me due to Joe’s Facebook post.

       1/16/19 Jamie lets her dog out to do his business late at night and a man, who has seen
       her and ducked into the bushes, tries to lure the dog across the street, by whistling a
       typical dog call softly. She thinks it is so that she will step out into the yard to go after
       the dog, but she’s able to order the dog back inside. She’s too sick to call any one until
       the next day.

3/27/19 I testify in the Joe Schreibvogel Murder for Hire trial in Oklahoma City. I want to stay for
the trial but Howie is finding it all to be more than he can handle, so we go home on March 30.
He’s worried that Joe will be able to con one person on the jury and doesn’t want me nearby if
that happens.




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4/9/2019 Howie thinks I’m dead. I went to bed a half hour early last night, at 9:30 pm. This
morning, at 8:30 am I awoke to what I thought was the cat jumping on me to be Howie shaking
me pretty hard. He said he’d done so three times, getting no response and his heart was in his
throat as he was leaning over to see if I was breathing, while continuing to shake me. That’s
why he was right in my face when I awoke, which startled us both. I usually wake at the
slightest sound or motion and I’m always out of bed making coffee by 7:30 am, so this was
really bizarre behavior. I guess all the stress finally caught up to me.

4/10/2019 We won the battle with the FWC to save Sky and her kittens. The FWC was insisting
that the bobcat be euthanized because one of Joe Schreibvogel’s minions, Linda Sue Malie,
was complaining about her being rehabbed by us. She was saying we had trapped her, which
wasn’t true. It’s just typical of the fight we have to go through every time we rescue a cat,
because the FWC will allow the abusers to use them as a weapon against us.

4/15/19 We won $20k, a 3k Zicam 3D camera, an Insta 360 Evo and mentoring by YouTube
and VR Scout in 180 3D camera use and editing, so we are on our way to bootcamp in Los
Angeles. I’m so proud of our team’s efforts in augmented reality and immersive video and wish
I could have brought Tanya Chute and Andy Sardone too, but it was limited to 3 people. Even
though I’ve handed off most of the filming and editing to them, I felt like I needed to be the
person to carry the knowledge forward to share it.

4/28/19 Some places are banning plastic shopping bags, but as someone with a cat, I know
they are how most of us clean litter pans. Today I created The Cat Crap Sack. It’s recycled
paper and just one more of the hair brained ideas I’ve had that I might never have time to
pursue. Howie still teases me about Window-llusions. I thought it would be great to replace
windows in houses that had no views, with computer monitors tied to live web cams all around
the world so you could be in Hawaii, or a nightclub, or Mount Everest...wherever you wanted to
be with the change of a channel.

5/15/19 Howie wrote a great article about Joe Schreibvogel’s conviction. This is an excerpt:
The trial started on Monday March 25th and ended Tuesday April 2nd. Carole testified on
Tuesday March 26th and stayed wonderfully cool and calm as Joe’s defense attorney badgered
her. USFWS brought in extra officers who transported us back and forth from the hotel to the
courthouse for our safety, and had us enter via a back entrance. We left the day after Carole’s
testimony. It was a tense few days after that as people we knew who stayed for the full trial
reported to us on the day’s events each evening. Joe only had to convince one juror to have a
hung jury. He took the stand in his own defense, which was pretty much his entire defense. The
jury took only a few hours to come back with a verdict of guilty on all 19 counts.

7/8/19 It could be my last meal...I realized today just how “normal” the notion of being targeted
by animal abusers have become to me. I can eat two meals a day. I get precooked, vegan
meals shipped to me from Veestro. Each day I take two out of the freezer and bring to the




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sanctuary so they can defrost on the counter until my lunch and dinner. Each time, I pick the
one I like most first and silently reason to myself that I could be killed before the next meal.

That’s just become so ingrained into my way of choosing lunch that I was totally unaware of just
how weird that is, until just this moment.

8/10/19 We opened the second AR Zoo location in the Broward Mall in Plantation, FL.

12/31/19 At the end of the year the Big Cat Public Safety Act has 225 bipartisan cosponsors in
the house and 15 in the Senate including two key Republicans.

2020

1/13/20 We present our VR 3D videos at the Dunedin International Film Festival to over 1000
people.

1/20/20 Phone conference with Chris and Rebecca Habbershaw of LearningLab360.com results
in a plan to create the first big cat themed science project in 3D for them to take to schools in
their traveling VR labs.

1/22/20 Joe Exotic is sentenced to 22 years in the Federal Pen.

2/11/20 We will be taking our portable AR Zoo to the Synapse Conference with over 6000
attendees. Right before everyone was about to go into lockdown around the globe, Big Cat
Rescue partnered with Xennial Digital to bring a dream I have had into reality. More precisely,
into virtual reality.

3/13-22/20 I’ve entered a VR contest at South By Southwest and will be attending in hopes of
finding developers to help us move the concept of VR zoos forward.

3/15/2020 Is the last day Big Cat Rescue is open to the public for tours or visits of any kind due
to COVID-19.

3/20/2020 Tiger King airs and my life is turned upside down. My phone rings every 2 minutes,
around the clock, by people calling and threatening to kill me, my family, my staff, volunteers
and cats. They say they are going to storm the gates, set the cats free and burn the place to
the ground. The gather outside our gates intimidating our volunteers to the point that we have
to have the entire road to our facility deemed a no trespass zone by the Sheriff. We are
constantly hounded by drones, low flying crafts and people following me and our folks every
time we leave the property. I can’t go anywhere without being accosted by people who feel
justified in their cruel behavior because they believed the Tiger King narrative and think I’m a
killer, that I stole from Don’s kids and that I breed and sell and exploit wildcats just like all of the
roadside zoos.




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4/8/2020 We had to tell 10 of our 20 person staff that we could only pay them through the end of
the month. The next month we had to let go our PR director who was a contractor, due to the
double punch of C-19 and the negative impact of Tiger King.

6/25/2020 Our first VR game Big Cat Rescue VR is launched in the Oculus store for the Rift. My
goal for decades has been to stop the practice of holding wild cats hostage under the guise of
conservation or education. Judging from the tens of thousands of calls, letters, emails and
social posts I’ve gotten after Tiger King aired, it’s clear to me that most people don’t understand
that breeding tigers is causing their extinction in the wild, not preventing it. Another fallacy that
came into sharp focus was the general public’s belief that captive bred big cats can be set free.

The game is a fully immersive experience that takes the player on a journey where they learn
how to track a tiger in the wild. Along the way they learn about the plight of the tiger in the wild
and how the lucrative cub petting industry is fueling the demand for poached wild tigers. In the
end the user is empowered with the knowledge and resources to bring the tiger back from the
edge of extinction. In addition to being fun, informative and empowering, the app is free. Here
is the direct link:
https://www.oculus.com/deeplink/?action=view&path=app/2644430298990543&ref=oculus_des
ktop

We are currently working to bring it to the Oculus Rift and to put it on platforms, such as Steam
so that it can be used in classrooms and in video arcades for free or at a very affordable price.

My ultimate vision is to drive the demand and technology forward so that the only way people
want to see wild animals is via remote controlled, Internet streaming, 360 3D cameras that
stream LIVE 24/7 to anyone who picks up a headset and tunes in. That is how people will put
value on protecting the wild places these cats live; which is where our fresh water and clean air
originate. THAT is true conservation and it benefits all of us.




                                                                                        Exhibit 5
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                                                             Exhibit 5
